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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiff,                               4:24CR3012

      vs.
                                                              ORDER
TIMOTHY H. MAISNER,

                   Defendant.


        Defendant has moved to continue the pretrial motion deadline (Filing No.
24), because Defendant and defense counsel need additional time to fully review
the discovery. The motion to continue is unopposed. Based on the showing set
forth in the motion, the court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)    Defendant’s motion to continue, (Filing No. 24), is granted.

      2)    Pretrial motions and briefs shall be filed on or before April 22, 2024.

      3)    A status conference will be held before the undersigned magistrate
            judge at 10:00 a.m. on April 30, 2024 by telephone. All participants
            shall use the conferencing information provided by the court to
            participate. Counsel for the parties shall be present at the conference.

      4)    The ends of justice served by granting the motion to continue
            outweigh the interests of the public and the defendant in a speedy
            trial, and the additional time arising as a result of the granting of the
            motion, the time between today’s date and April 30, 2024 shall be
            deemed excludable time in any computation of time under the
            requirements of the Speedy Trial Act, because although counsel have
            been duly diligent, additional time is needed to adequately prepare
            this case for trial and failing to grant additional time might result in a
            miscarriage of justice. 18 U.S.C. § 3161(h)(1) & (h)(7). Failing to
            timely object to this order as provided under this court’s local rules will
            be deemed a waiver of any right to later claim the time should not
            have been excluded under the Speedy Trial Act.
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    Dated this 22nd day of March, 2024.

                                          BY THE COURT:

                                          s/ Jacqueline M. DeLuca
                                          United States Magistrate Judge
